Case 2:03-cv-02860-.]PI\/|-STA Document 54 Filed 07/21/05 Page 1 of 2 Page|D 100

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WESTERN DISTRICT OF TENNE‘S`.S`I!JEU"5 JUL 2' PH 3’ 58

WESTERN DIVISION THGMA$ M. GC)ULD

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UNITED STATES, for the use

and B€nefit Of, ASSET RECOVERY
CONTRACTING, LLC JUDGMENT IN A CIVIL CASE

VS

SAFECO INSUR_ANCE COMPANY OF
AMERICA. cASE No= 03-2860 Ml/An

 

Upon stipulation Of the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Jeint
Stipulation of Dismissal filed July 18, 2005, this case is hereby
dismissed with prejudice pursuant to Rule 4l(a )(l)(ii) ef the
Federal Rules cf Civil Procedure. Each party shall bear its ewn
costs and expenses.

APPROVED

MW@&Q

JON PHIPPS MCCALLA
UN ED STATES DISTRICT COURT

\\ 2 ) 303 § THoMAs M. GOuLD
at : Clerk cf Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:03-CV-02860 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

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US DISTRICT COURT

